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 9
                                 UNITED STATES DISTRICT COURT
10
                                NORTHERN DISTRICT OF CALIFORNIA
11
                                     SAN FRANCISCO DIVISION
12
     STUDENT A, by and through PARENT A, her            Case No. 3:17-cv-02510-JST
13   guardian; STUDENT B, by and through
     PARENT B, his guardian; STUDENT C, by and          STIPULATION AND [PROPOSED]
14   through PARENT C, his guardian; and                SCHEDULING ORDER REGARDING
     STUDENT D, by and through PARENT D, her            CLASS CERTIFICATION DEADLINES
15   guardian, each one individually and on behalf of
     all other similarly situated children,
16                                                      Current Hearing:
                                      Plaintiffs,       Date:           April 11, 2019
17                                                      Time:          2:00 p.m.
            v.                                          Courtroom:     9, 19th Floor
18                                                      Judge:          Hon. Jon S. Tigar
     THE BERKELEY UNIFIED SCHOOL
19   DISTRICT and THE BOARD OF EDUCATION
     OF THE BERKELEY UNIFIED SCHOOL      Proposed Hearing:
20   DISTRICT,                           Date:          August 22, 2019
                                         Time:          2:00 p.m.
21                           Defendants. Courtroom:     9, 19th Floor
                                         Judge:         Hon. Jon S. Tigar
22

23                                                      Action Filed:   May 2, 2017

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                 STIPULATION AND [PROPOSED] SCHEDULING ORDER REGARDING CLASS
                               CERTIFICATION DEADLINES CASE NO. 3:17-CV-02510-JST
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                 STIPULATION AND [PROPOSED] SCHEDULING ORDER REGARDING CLASS
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 1           Plaintiffs Student A, B, C, and D (collectively, “Plaintiffs”) and Defendants The Berkeley

 2   Unified School District and The Board of Education of Berkeley Unified School District

 3   (collectively, “Defendants”), by and through their respective counsel, HEREBY STIPULATE and

 4   AGREE as follows:

 5                  WHEREAS, on November 9, 2017, the Court referred this litigation to a settlement

 6   conference before a magistrate judge (Dkt. 82), and the case was assigned to the Hon. Laurel

 7   Beeler for settlement;

 8                  WHEREAS, on March 27, 2018, the parties engaged in a settlement conference

 9   with Judge Beeler, but did not resolve their dispute at that time, agreeing to attend a second

10   settlement conference and to an informal stay of discovery pending the second conference;

11                  WHEREAS, on April 13, 2018, the parties and the Court participated in a

12   telephone case management conference (Dkt. 97);

13                  WHEREAS, on April 16, 2018, the parties’ second settlement conference with

14   Judge Beeler was set for June 6, 2018;

15                  WHEREAS, on April 17, 2018, the Court issued a scheduling order (Dkt. 98),

16   establishing December 6, 2018, at 2:00 p.m. as the hearing on Plaintiffs’ class certification motion,

17   with the opening brief being due October 5, 2018, opposition brief being due October 26, 2018,

18   and reply brief being due November 9, 2018;

19                  WHEREAS, on May 22, 2018, Judge Beeler rescheduled the June 6 settlement

20   conference due to an unanticipated conflict (Dkt. 100), setting the conference for June 29, 2018

21   (Dkt. 101);

22                  WHEREAS, on June 22, 2018, Judge Beeler rescheduled the June 29, 2018

23   settlement conference to October 9, 2018 (Dkt. 102);

24                  WHEREAS, on September 20, 2018, the Court signed the parties’ Stipulation and

25   [Proposed] Order, resetting the deadlines with respect to Plaintiffs’ class certification motion (Dkt.

26   105);

27   //

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                   STIPULATION AND [PROPOSED] SCHEDULING ORDER REGARDING CLASS
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 1                    WHEREAS, on October 9, 2018, the parties engaged in a settlement conference

 2   with Judge Beeler, but did not resolve their dispute at that time, agreeing to attend a third

 3   settlement conference;

 4                    WHEREAS, on October 12, 2018, Judge Beeler set the third settlement conference

 5   for December 12, 2018 (Dkt. 107);

 6                    WHEREAS, on December 12, 2018, the parties engaged in a settlement conference

 7   with Judge Beeler, but did not resolve their dispute at that time, agreeing to attend a fourth

 8   settlement conference;

 9                    WHEREAS, on December 12, 2018, Judge Beeler set a fourth settlement

10   conference for February 28, 2019, along with a schedule for the exchange of materials and drafts

11   of the parties’ settlement proposal (Dkt. 109);

12                    WHEREAS, the parties have conferred and have agreed that, in light of the

13   unanticipated continuance of the settlement conference to February 28, 2019, which is twenty (20)

14   days after Plaintiffs’ opening brief on their class certification motion is due, the current class

15   certification deadlines should be continued for a period of four months to allow settlement

16   discussions to continue;

17          NOW, THEREFORE, the parties stipulate and propose the following scheduling order

18   pertaining to Plaintiffs’ Motion for Class Certification:

19          1.        The time for Plaintiffs to file their opening brief in support of the motion shall be

20   June 21, 2019.

21          2.        The time for Defendants to file their brief in opposition to the motion shall be July

22   12, 2019.

23          3.        The time for Plaintiffs to file their reply brief in support of the motion shall be July

24   26, 2019.

25          4.        The date of the hearing shall be set for August 22, 2019.

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                  STIPULATION AND [PROPOSED] SCHEDULING ORDER REGARDING CLASS
                                CERTIFICATION DEADLINES CASE NO. 3:17-CV-02510-JST
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 1   SO STIPULATED

 2   DATED: December 31, 2018          Respectfully submitted,

 3                                  By: /s/ Larisa Cummings
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28                                     Attorneys for Plaintiffs

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              STIPULATION AND [PROPOSED] SCHEDULING ORDER REGARDING CLASS
                            CERTIFICATION DEADLINES CASE NO. 3:17-CV-02510-JST
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            STIPULATION AND [PROPOSED] SCHEDULING ORDER REGARDING CLASS
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 1                                  [PROPOSED] SCHEDULING ORDER

 2          The Court hereby extends the following case deadlines:

 3                         Event                          Current Deadline              New Deadline
 4
      Class certification motion due                    February 8, 2019          June 21, 2019
 5
      Class certification opposition due                March 1, 2019             July 12, 2019
 6

 7    Class certificate reply due                       March 15, 2019            July 26, 2019

 8    Hearing on class certification motion             April 11, 2019            August 22, 2019
 9
            Counsel may not modify these dates without leave of court. The parties shall comply with
10
     the Court’s standing orders, which are available at cand.uscourts.gov/jstorders.
11
            IT IS SO ORDERED.
12
                    3 2019
     Dated: January __,
13

14
                                                              _______________________________
15                                                                      JON S. TIGAR
                                                                  United States District Judge
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                 STIPULATION AND [PROPOSED] SCHEDULING ORDER REGARDING CLASS
                               CERTIFICATION DEADLINES CASE NO. 3:17-CV-02510-JST
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 1                                   CIVIL L.R. 5-1 ATTESTATION

 2          Pursuant to Civil Local Rule 5-1(i)(3), I hereby attest that concurrence in the filing of this

 3   document has been obtained from each of the other Signatories.

 4                                                            /s/ Brendan Radke__________

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                 STIPULATION AND [PROPOSED] SCHEDULING ORDER REGARDING CLASS
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